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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA


 MATT WRIGHT                                     NOTICE OF SETTLEMENT AND
                                                 DISMISSAL OF CIVIL ACTION
                          Plaintiff,             WITH PREJUDICE (FRCP
                                                 41(a)(1)(A)(i))
               v.
                                                 Case No.: 1:20-cv-102-MW-GRJ
 BUSINESS VIEW PUBLISHING, INC.

                          Defendant.


       IT IS HEREBY NOTICED that the above case has settled and should be dismissed

with prejudice with both sides bearing their own costs and attorney’s fees.


 /s/Richard Liebowitz
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 Dated: June 11, 2020

 Attorneys for Plaintiff Matt Wright
